  8:02-cr-00128-LES   Doc # 67     Filed: 03/03/08   Page 1 of 2 - Page ID # 127



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                      8:02CR128
                              )
          v.                  )
                              )
TRINITY BRIGGS,               )                        ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on defendant’s motion

to modify sentence (Filing No. 63), and the stipulation of the

parties (Filing No. 66).         The retroactive amendment to the

cocaine base guideline changes the total (final) offense level

from 31 to 29.   The government and defense agree that the new

sentence should be seventy-three (73) months imprisonment, based

on the prior computation of specific offense characteristics,

adjustments, and any departures.          Considering the time served and

credit for good time,

          IT IS ORDERED that said motion is granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to time served, and the defendant is

entitled to be released.         Execution of this order shall be stayed

for ten (10) days from the date of this order.               The conditions of
  8:02-cr-00128-LES   Doc # 67   Filed: 03/03/08   Page 2 of 2 - Page ID # 128



supervised release entered in the original judgment and committal

order remain in full force and effect.

          DATED this 3rd day of March, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
